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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

MICIIAEL T.BENNETT,                      *
                                         *

            Plainti氏                     *
                                         *

      V.                                 *    1:17‑CV‑03505‑ELR
                                         *

MARVEL ENTERTAINMIENT and                *

NIARK NIILLAR,                           *
                                         *

            Defendants.                  *
                                         *




                                   ORDER

      There are several matters before the Court, including Defendant Marvel

Entertainment's "Motion to Dismiss, with Prejudice, Plaintiff s Second Amended

Complaint" [Doc. 45]. The Court's rulings and conclusions are set forth below.

I.    Background

      On March 17,2017, Plaintiff Michael T. Bennett, proceedingpro se, filed an

action in the State Court of Gwinnett County, Georgia, against Defendants Marvel

Entertainment ("Marvel") and its purported employee, Mark Millar ("Millar")

(collectively, "Defendants"). Compl. [Doc. l-l]. Plaintiff alleged, in a one-page
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 complaint,thatDefendants committed criminal copyright infringementl for the theft

 of Plaintiff s 2008 Owl Unlikely Crusader and2012 Owl Knight's Quickeningbooks

 (collectively,"Owl books"). Plaintiff sought $1.2 billion in lost income. [Id.] On

 July 31, 2017, Plaintiff filed a "Motion to add Copyright Infractions to Claim,"

 ("Motion to Amend"). [Doc. 3]. Plaintiff attached more than 300 pages to his

 Motion to Amend, which appeared to be Plaintiff s amended complaint ("300-page

Amended Complaint").

        On September 13,2017, Defendant Marvel removed Plaintiff s suit from the

 State Court of Gwinnett County, Georgia, to this Court. [Doc. 1]. On October 20,

 2017, Defendant Marvel jointly filed (l) a motion to dismiss Plaintifls original

complaint, (2) a motion to dismiss Plaintiff s 300-page Amended Complaint, and (3)

Defendant Marvel's opposition to the Court allowing Plaintiff to amend his

complaint. [Doc. I 1-1].

        On July 17 ,2018, after careful review, the Court granted Defendant Marvel,s

motion to dismiss; however, given Plaintiffs pro se status, the Court allowed

Plaintiff an additional opportunity to amend his complaint. [Doc. 36]. Specifically,



I while there is a criminal
                              copyright infringement statute, 17 u.s.c. $ 506, plaintiff, as a private
individual, cannot assert a private cause of action for criminal copyright infringement. Killy v.
L.L. cool J., 145 F.R.D.32,39 (s.D.N.y. 1992), affld sub nom., z1 psazch pa cirl 1994)
("[T]here is no private cause of action under the criminal provisions of the copyright law.,,).
However, given Plaintiff spro se status, Defendant Marvel construed "Plaintiff s claim to be
                                                                                                   one
for civil copyright infringement." [Doc. 11-l at 7]. The Court also construed Plaintifls claim as
one for civil copyright infringement.
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the undersigned explained that Plaintiff s 300-page Amended Complaint was a shot-

gun pleading that (1) did not specifu which Defendant was responsible for which act

and (2) failed to separate his allegations into different counts or claims for relief.

[Id. at 6]. Furthermore, the undersigned explained that Plaintiffs extensive
"comparisons" of the purportedly infringing Marvel works were insufficient to

establish a valid copyright infringement claim that demonstrated that the works at

issue were "substantially similar" such that "an average lay observer would

recognize the alleged copy as having been appropriated from the copyrighted work."

[Id. (quoting Beal v. Paramount Pictures Corp.,20 F.3d 454,459 n.4 (1lth Cir.

ree4))1.

       On August 2,2018, Plaintiff filed a "Motion to Resubmit New Paperwork as

ordered on July 17 , 2018 . . ." which the Court and Defendant Marvel construe as

Plaintiffs Second Amended Complaint.2 [Doc. 42]. on August 20, 2ol1,

Defendant Marvel filed a "Motion to Dismiss, with Prejudice, Plaintifls Second

Amended Complaint" [Doc. 45], which is now ripe for the Court's review.

il.    Motion to Dismiss Legal Standard

       When considering a 12(b)(6) motion to dismiss, the Court must accept as true

the allegations set forth in the complaint drawing all reasonable inferences in the

2
  That same day, Plaintiff filed a "Motion to Remove Mark Millar as Defendant," which the Court
construes as a motion to dismiss Defendant Mark Millar. [Doc. 41]. Defendant Marvel filed a
response in non-opposition to Defendant Millar's dismissal. [Doc. 44]. The Court grants
Plaintiff s motion to dismiss Defendant Millar as unopposed.
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light most favorable to the plaintiff. Bell Atl. Corp. v. Twomblv, 550 U.S. 544,555-

56 (2007); U.S. v. Stricker, 524 F. App'x 500, 505 (1 lth Cir. 2013) (per curiam).

Even so, a complaint offering mere "labels and conclusions" ot "a formulaic

recitation of the elements of a cause of action" is insufficient. Ashcroft v. Iqbal, 556

U.S 662, 678 (2009) (quoting Twombly, 550 U.S. at 555); accord Fin. Sec.

Assurance. Inc. v. Stephens. Inc., 500 F.3d 1276, 1282-83 (1lth Cir. 2007).

      Further, the complaint must "contain sufficient factual matter, accepted as

true, 'to state a claim to relief that is plausible on its face."' Iqbal,556 U.S. at 678

(citing Twombl),, 550 U.S. at 570). Put another way, a plaintiff must plead "factual

content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged." Id. This so-called "plausibility standard,, is not

akin to a probability requirement; rather, the plaintiff must allege sufficient facts

such that it is reasonable to expect that discovery will lead to evidence supporting

the claim. Id.

UI. Discussion
      Two elements must be proven to establish copyright infringement: (1)
      ownership of a valid copyright, and (2) copying of constituent elements
      of the work that are original. Beal v. Paramount Pictures Corp. ,20 F .3d,
       454, 459 ( 1 1th Cir. 1994). To establish copying, the plaintiff must show
      that the defendant had access to the copyrighted work and that the two
      works are so "substantially similar" that an average lay obserwer would
      recognize the alleged copy as having been appropriated from the
      original work. Calhoun v. Lillenas Publ'9,298 F.3d 1228, 1232 (llth
      Cir. 2002). If the plaintiff cannot show access, the plaintiff may still
      prevail by demonstrating that the works are "strikingly similar.,, Id. at
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      1232 n.6. Striking similarity exists where the proof of similarity in
      appearance is so striking that the possibilities of independent creation,
      coincidence, and prior common Source are, aS a practical matter,
      precluded . Corwin v. Walt Disney Co., 475 F.3d 1239, 1253 (l1th Cir.
      2007).



       While expression is protected, ideas are not. See 17 U.S.C. $ 102(b). In
       addition to broad ideas, noncopyrightable material includes scdnes d
      faire, those stock scenes that naturally flow from a common theme.
       Beal,20 F.3d at 459-60. Lists of similarities between two works are
       inherently subjective and unreliable, particularly where the list contains
       random similarities, as many such similarities can be found in very
       dissimilar works. Id. at 460.

Singleton v. Dean, 611 F. App'x 671,672 (11th Cir. 2015).

      Although the Court recognizes that "pro se pleadings are held to a less

stringent standard than pleadings drafted by attorneys," nothing requires a district

court to waste judicial resources attempting to decipher an unintelligible pleading.

Tannenbaum v. United States, 148 F.3d 1262, 1263 (l lth Cir. 1998) (per curiam);

see Peavey v. Black,476 F. App'x 697 ,699 (1 1th Cir.2012) (per curiam) (affirming


dismissal of pro se complaint that was "unintelligible, indecipherable, and replete

with irrelevant facts, making it impossible for the defendants to know what [the

plaintiff was] claiming, against whom, and on what grounds").

      Again, the Court has diligently attempted to determine the wrongs for which

Plaintiff seeks redress. It appears that Plaintiff again claims that Defendants, in

creating the productions Captain America: Winter Soldier, Ant-Man, Captain

America: Civil War, Guardians of the Galaxy, Avengers: Ag" of Ultron, and Agents
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    of S.H.I.E.L.D., copied Plaintiffs self-published Oyyl books. In his Second
    Amended Complaint, Plaintiff added additional Marvel works that he alleges

    Defendant copied from his Owl books: Captain America: The First Avenger; The

    Avengers; Iron Man 3; Spider-Man: Homecoming; Thor: Ragnarok; Btack Panther;

    Avengers: Infinity War; and Ant-Mqn and the Wasp. Throughout most of his Second

    Amended Complaint, Plaintiff compares his Owl books with these above-mentioned

    Marvel productions with few references to the specific Marvel production for

    comparison, and instead, generally refers to the Marvel characters most of the time.3

 For example, like his First Amended Complaint, Plaintiff compares his character

 Owl's mechanized wings with Marvel's character Falcon's mechanized wings,

 [Compare Doc. l-l at 49-54 with Doc . 42-7 at 10], and states that his character

 "owl's use of a parachute is like Falcon,s use of a parachute.,,
                                                                                 le_omparc Doc. l_l
 at 40 with Doc . 42-7 at 221.a

         Just as the Court explained in its July 17
                                                           ,2018 Order, these blanket assertions
regarding the purported similarities between Plaintiff
                                                                     s Owt books and the Marvel

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    Defendant points out in its motion to dismiss, that
                                                           Plaintiff attached evidence of his copyright
  registration for his 2012 owl book but not his 2oo8
                                                           owl book. while not determinative of the
  court's granting of Defendant's motion, infra, Plaintiff did
                                                                      not attach this registration to his
  second Amended complaint as evidence orihe first prong
 a                                                               orrri, copyright infringement claim.
   As additional examplei, Plaintiff also asserts that "owl
                                                              vuutting to his desk and seeing Morikaido
 is like captain America walking up to Fury's desk
                                                      and seeking Fury,, [Doc.42-7at 3]; ,,owl seeing
a little kid is like captain Americi seeing a little
                                                     kid" [Id. at 5]; "owl wearing street clothes while
he uses his wings is like F.alcon wearing street clothes
                                                             while he uses his wings,, [Id. at 7]; .,owl
being seen on camera is like captain America being
                                                            seen on camera,, [Id. at 9]; .,owl using a
]ptw 1s     like captain America.r.irg  a laptop"       ail5l;  and "owl being knocked to the floor is
                                                   tld.
like [t]he scientist/doctor being t<noct<ed io t-t g-rrd,,
                                                "            tld. at 16].
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productions appear to be broad ideas found in most action movies and comic books

 and scdnes dfaire, rather than copyright infringement. More specifically, Plaintifls


numerous attempts to compare his Owl books with the Marvel productions, while

wide-ranging, are generalized rather than "substantially similar" or "strikingly

similar." See Sinsleton, 611 F. App'x at 672 (affirming district court's dismissal of

pro se plaintifls copyright infringement complaint by stating "[Plaintiffl has not

shown any examples of copyright infringement, because the alleged similarities

either do not exist or concem broad ideas or scines d faire. Her complaint points to

a list of random similarities between two books, which is exactly what this court

rejected as evidence of copyright infringement in Beal.").

       Furthermore, as previously explained by the Court, plaintiffs Second

Amended complaint is more of a diary-like comparison than a compraint. See

Yeyille v. Miami Dade Cty. Public Schools ,643 F. App,x 882, gg4 (l lth Cir.2016)

("[T]he district court correctly concluded that fplaintiff]'s third amended

complaint . . . was a shotgun pleading. Rather than using short and plain statements

as required by the Federal Rules, the third amended complaint included an g5-

paragraph fact section spanning 3 1 pages,, much of it written in narrative, diary-like

fo.-."). Thus, Plaintiff s Second Amended Complaint fails to state a claim.
      Accordingly, for all these reasons, the court grants Defendant Marvel's

motion to dismiss Plaintiff s Second Amended Complaint [Doc. 45].
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IV. Conclusion
      For the foregoing reasons, the Court GRANTS Defendant Marvel's "Motion

for Withdrawal of Sarah LaFantano as Counsel" [Doc. 3a]; DENIES Plaintiffs

"Motion to inquire why Ms. Sarah Parker LaFantano resigned her position at Alston

& Bird" [Doc. 37]; DENIES Defendant Marvel's Motion for Attorneys' Fees related

to Plaintiff s inquiry [Doc. a0]; GRANTS Plaintiff s "Motion to Remove Mark Millar

as Defendant" [Doc .   al); GRANTS Plaintiff s "Motion to Resubmit New Paperwork
as ordered on July 17, 2018 . . ." [Doc. a2]; GRANTS Defendant Marvel

Entertainment's "Motion to Dismiss, with Prejudice, Plaintiffs Second Amended

complaint" [Doc. a5); DISMTSSES WITH PREJUDTCE this action; and
DIRECTS the Clerk to close this case.

      So ORDERED, thi,M^y             of Janu ary,2019.




                                            Eleanor L. Ross
                                            United States District Judge
                                            Northern District of Georgia




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